                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,                        )
                                                 )
                          Plaintiff,             )
                                                 )    Civil No. 20-1172
                     v.                          )
                                                 )
WALTER KIDDE PORTABLE                            )
EQUIPMENT INC.,                                  )
                                                 )
                   Defendant.                    )
____________________________________)

                       COMPLAINT FOR CIVIL PENALTY
                     AND PERMANENT INJUNCTIVE RELIEF

Plaintiff, United States of America, by its undersigned attorneys, alleges:

       1.     This action is brought by the United States of America under the Consumer

Product Safety Act, 15 U.S.C. § 2051 et seq. (“CPSA”), seeking a civil penalty and

injunctive relief against Walter Kidde Portable Equipment, Inc. (“Kidde”).

       2.     Kidde knowingly failed to immediately report to the Consumer Product

Safety Commission (“CPSC”) upon obtaining information which reasonably supported

the conclusion that fire extinguishers with plastic handles manufactured by Kidde,

eventually recalled on November 2, 2017, contained a defect which could create a

“substantial product hazard,” in violation of section 15(b)(3) of the CPSA, 15 U.S.C.

§ 2064(b)(3). Kidde also failed to immediately report information that its fire




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extinguishers created an unreasonable risk of serious injury or death, in violation of

section 15(b)(4) of the CPSA, 15 U.S.C. § 2064(b)(4).

       3.     Kidde also made material misrepresentations to the CPSC and knowingly

used a registered safety certification mark in an unauthorized manner in the sale of fire

extinguishers affected by defects.

       4.     The United States seeks a civil penalty and injunctive relief against Kidde

for these violations of the CPSA.

                               JURISDICTION AND VENUE

       5.     This Court has jurisdiction pursuant to 15 U.S.C. § 2071(a) and 28 U.S.C.

§§ 1331, 1345, and 1355(a). Venue in this District is proper pursuant to 28 U.S.C. §§

1391(b)-(c) and 1395(a).

                                     THE DEFENDANT

       6.     Walter Kidde Portable Equipment, Inc. is a Delaware corporation with its

principal place of business in Mebane, North Carolina. Kidde is a manufacturer of the

fire extinguishers at issue.

                        CONSUMER PRODUCT SAFETY ACT

       7.     The CPSC, an independent federal regulatory agency established to protect

the public against unreasonable risks of injury from consumer products, enforces the

CPSA. 15 U.S.C. §§ 2051, 2053. Under the CPSA, every manufacturer of a consumer

product that is distributed in commerce is required to immediately notify the CPSC of

certain events. 15 U.S.C. § 2064(b).


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       8.     Fire extinguishers constitute a “consumer product” as that term is defined

under the CPSA. 15 U.S.C. § 2052(a)(5).

       9.     A “manufacturer” under the CPSA “means any person who manufactures

or imports a consumer product.” 15 U.S.C. §2052(a)(11).

       10.    A manufacturer “who obtains information which reasonably supports the

conclusion that such product . . . contains a defect which could create a substantial

product hazard” must immediately inform the CPSC “unless such manufacturer . . . has

actual knowledge that the Commission has been adequately informed of such defect

. . . .” 15 U.S.C. § 2064(b)(3).

       11.    A manufacturer of a consumer product “who obtains information which

reasonably supports the conclusion that such product . . . creates an unreasonable risk of

serious injury or death” must immediately inform the CPSC “unless such manufacturer

. . . has actual knowledge that the Commission has been adequately informed of . . . such

risk.” 15 U.S.C. § 2064(b)(4). The Commission has defined “serious injury” to include

any significant injury, including injuries necessitating medical or surgical treatment and

lacerations requiring sutures. 16 C.F.R. § 1115.6(c).

       12.    The purpose of the reporting requirement in section 15(b) of the CPSA is to

protect consumers from product defects which present a substantial risk of injury to the

public or unreasonable risks of injury from consumer products. Companies must report

“immediately” to the CPSC so that public notice to consumers and/or a remedy, such as a

recall to repair or replace the product, may be sanctioned by the CPSC.


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      13.     Failure to furnish information required by 15 U.S.C. § 2064(b) immediately

and adequately is a prohibited act under the CPSA. 15 U.S.C. § 2068(a)(4); 16 C.F.R.

1115.22(b).

      14.     It is also a prohibited act under the CPSA to make a material

misrepresentation to any officer or employee of the CPSC in the course of an

investigation under the CPSA. 15 U.S.C. § 2068(a)(13).

      15.     It is also unlawful under the CPSA for any person to “sell, offer for sale,

distribute in commerce, or import into the United States any consumer product bearing a

registered safety certification mark owned by an accredited conformity assessment body,

which mark is known, or should have been known, by such person to be used in a manner

unauthorized by the owner of that certification mark.” 15 U.S.C. § 2068(a)(12).

                              FACTUAL ALLEGATIONS

                         Fire extinguishers failing to discharge

      16.     Beginning in November 2014 and continuing until August 2017, Kidde

failed to immediately and adequately report information that fire extinguishers with

plastic handles manufactured by Kidde could become clogged or require excessive force

to discharge and thus fail to activate during a fire emergency. Although Kidde provided

some information to the CPSC regarding the discharge failures, it significantly

underreported the scope and nature of the defect and risk, as well as the number of

products and models affected.




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      17.    In November 2014, Kidde proposed to the CPSC a recall of approximately

4.6 million fire extinguishers manufactured from July 2013 through October 2014

because the extinguishers risked not fully discharging when the lever is repeatedly

pressed and released during a fire emergency, posing a risk of injury to consumers.

Kidde informed the CPSC that it had determined the cause of this defect to be an out-of-

specification valve component. The CPSC and Kidde announced a joint recall of the

affected fire extinguishers on February 12, 2015.

      18.    In connection with its 2014 report to the CPSC and 2015 recall, Kidde

possessed, but did not disclose to the CPSC, testing and incident data showing that the

scope and nature of the defect and risk it had reported to the CPSC was false and

misleading in material respects.

             a.     Despite test reports showing discharge failures across many models

             of fire extinguishers sold over decades, and an acknowledgement from its

             engineers that they had “not found any components out of specification,” in

             its November 2014 Section 15(b) report, Kidde reported to the CPSC that

             the defect involved an out-of-specification valve component for a more

             limited set of models sold for only 15 months.

             b.     Despite test reports throughout December 2014 showing consistent

             failures across Kidde fire extinguisher models, Kidde informed the CPSC

             in January 2015 that 100% of its repaired fire extinguishers since

             November 2014 had passed performance tests. Kidde failed to disclose that


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                the repaired units were tested by a machine, as opposed to a manual test

                that would more accurately reflect how consumers actually used the fire

                extinguishers. Kidde knew that manual testing showed high failure rates

                across many models of fire extinguishers.

       19.      Also in connection with its 2014 reports to the CPSC and 2015 recall,

Kidde reported 12 incidents of fire extinguishers failing to discharge to the CPSC, but

Kidde had actually received reports of at least 100 incidents of fire extinguishers failing

to discharge.

       20.      After the recall in February 2015, Kidde continued to accumulate additional

reports of failures to discharge, demonstrating that the scope of the February 12, 2015

recall was far too narrow.

       21.      Kidde did not disclose to the CPSC the additional test and incident reports

demonstrating a wider problem with its fire extinguishers’ discharge mechanism until

August 2017.

                             Fire extinguisher nozzles dislodging

       22.      Beginning as early as 2005 and continuing until August 2017, Kidde also

failed to immediately report to the CPSC that it possessed information concerning nozzle

detachment from fire extinguishers with plastic handles that it manufactured.

       23.      Kidde began receiving reports of nozzle detachment as early as 2005 and

continued to receive such reports through August 2017. On November 15, 2014, Kidde

engineers internally reported that testing over a previous five week period showed a high


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occurrence of nozzles becoming dislodged from the fire extinguishers during discharge.

Kidde did not provide this information to the CPSC until August 2017.

       Failure to comply with industry standards and unauthorized use of mark

       24.    Kidde knowingly sold, offered for sale, distributed in commerce or

imported in the United States fire extinguishers bearing a registered safety certification

mark owned by an accredited conformity assessment body. Kidde knew or should have

known that its use of the registered safety certification mark was unauthorized when it

discovered that its products were not compliant with consensus standards.

                            Other interactions with the CPSC

       25.    During a 2015 civil penalty investigation by the CPSC regarding Kidde’s

reporting, Kidde materially misrepresented to the CPSC staff in the course of the staff’s

investigation of Kidde that the company had produced all relevant documents to the

CPSC. The CPSC staff relied on Kidde’s material misrepresentation in closing the civil

penalty investigation.

       26.    In August 2017, Kidde filed a new report under section 15(b), finally

revealing the true nature and scope of the intermittent discharge defect, and reporting also

the nozzle detachment defect. Kidde’s report under section 15(b) also revealed the actual

number of products and models affected, leading to the announcement of one of the

largest recalls in the CPSC’s history.




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                                          COUNT I

       27.      Paragraphs 1-26 are incorporated by reference and realleged as if set forth

fully herein.

       28.      Kidde knowingly failed to immediately and adequately inform the CPSC

upon obtaining information which reasonably supported the conclusion that its

manufactured fire extinguishers with plastic handles contained a defect (including but not

limited to, a defect or defects in design or manufacturing) that could create a substantial

product hazard (i.e., a defect that could create a substantial risk of injury to the public) in

violation of 15 U.S.C. §§ 2064(a)(2), 2064(b)(3), and 2068(a)(4). These violations began

when Kidde obtained the information regarding the defect and continued until Kidde

obtained actual knowledge that the CPSC was adequately informed of the defect or risk

of injury. These violations constitute a separate offense with respect to each affected fire

extinguisher.

                                         COUNT II

       29.      Paragraphs 1-26 are incorporated by reference and realleged as if set forth

fully herein.

       30.      Kidde knowingly failed to immediately and adequately inform the CPSC

upon obtaining information which reasonably supported the conclusion that its

manufactured fire extinguishers with plastic handles created an unreasonable risk of

serious injury, in violation of 15 U.S.C. §§ 2064(b)(4) and 2068(a)(4). These violations

began when Kidde obtained the information regarding the unreasonable risk of serious


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injury and continued until Kidde obtained actual knowledge that the CPSC was

adequately informed of the unreasonable risk of serious injury. These violations

constitute a separate offense with respect to each affected fire extinguisher.

                                         COUNT III

       31.      Paragraphs 1-26 are incorporated by reference and realleged as if set forth

fully herein.

       32.      Kidde made material misrepresentations to an officer or employee of the

CPSC in the course of an investigation under the CPSA, in violation of 15

U.S.C. § 2068(a)(13). In its November 2014 report under section 15(b), and in

subsequent communications related to the 2015 recall, Kidde materially misrepresented

the scope of the products subject to the recall by underreporting the number of fire

extinguishers containing an intermittent discharge defect. Kidde also failed to report

information relating to the nozzle-detachment defect, despite having test reports showing

such a defect and reports of the defect from consumers.

                                         COUNT IV

       33.      Paragraphs 1-26 are incorporated by reference and realleged as if set forth

fully herein.

       34.      Kidde made a material misrepresentation to an officer or employee of the

CPSC in the course of an investigation under the CPSA, in violation of 15

U.S.C. § 2068(a)(13). Kidde materially misrepresented to the CPSC that the intermittent

discharge defect involved an out-of-specification valve component affecting only a


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limited set of models. Kidde also materially misrepresented its knowledge of incident

reports it had received in connection with the intermittent discharge defect.

                                         COUNT V

       35.      Paragraphs 1-26 are incorporated by reference and realleged as if set forth

fully herein.

       36.      Kidde made a material misrepresentation to an officer or employee of the

CPSC in the course of an investigation under the CPSA, in violation of 15

U.S.C. § 2068(a)(13). In 2015, Kidde misrepresented that it was producing all relevant

documents in the course of a civil penalty investigation.

                                         COUNT VI

       37.      Paragraphs 1-26 are incorporated by reference and realleged as if set forth

fully herein.

       38.      Kidde knew or should have known that it was using a registered safety

certification mark owned by an accredited conformity assessment body in an

unauthorized manner, in violation of 15 U.S.C. § 2068(a)(12).

                                      JURY DEMAND

                The United States demands a trial by jury on all Counts so triable.

                                  RELIEF REQUESTED

WHEREFORE, the United States respectfully requests that this Court:




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  i.   Assess a civil penalty, as authorized by 15 U.S.C. § 2069, against Kidde for

       each separate violation and the related series of violations alleged in Counts I

       and II of this Complaint;

 ii.   Assess a civil penalty, as authorized by 15 U.S.C. § 2069, against Kidde for

       each misrepresentation of material facts made to CPSC staff;

iii.   Assess a civil penalty, as authorized by 15 U.S.C. § 2069, against Kidde for its

       unauthorized use of the mark of an accredited conformity assessment body;

iv.    Award injunctive relief, as authorized by 15 U.S.C. § 2071, against Kidde

       including but not limited to relief that would: (1) require Kidde to comply with

       the reporting requirements of the CPSA and its accompanying regulations; (2)

       take steps to assure such compliance by requiring Kidde to establish internal

       record keeping and compliance monitoring systems, and related internal

       controls, designed to provide timely reports to the CPSC whenever Kidde

       obtains information which reasonably supports the conclusion that any of its

       products contains a defect which could create a substantial product hazard or

       creates an unreasonable risk of serious injury to consumers; (3) require Kidde

       to report and provide certifications regarding its products’ compliance with the

       CPSA to the United States and to the CPSC; and (4) provide for liquidated

       damages in the event that Kidde fails to comply with any relief ordered by the

       Court; and




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   v.   Award the United States judgment for its costs and for such other and further

        relief that this Court deems just and proper.


Dated: December 30, 2020                    Respectfully submitted,



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